Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 1 of 25 PageID #: 1774




                            Exhibit E
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 2 of 25 PageID #: 1775
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 3 of 25 PageID #: 1776
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 4 of 25 PageID #: 1777
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 5 of 25 PageID #: 1778
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 6 of 25 PageID #: 1779
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 7 of 25 PageID #: 1780
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 8 of 25 PageID #: 1781
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 9 of 25 PageID #: 1782
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 10 of 25 PageID #: 1783
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 11 of 25 PageID #: 1784
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 12 of 25 PageID #: 1785
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 13 of 25 PageID #: 1786
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 14 of 25 PageID #: 1787
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 15 of 25 PageID #: 1788
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 16 of 25 PageID #: 1789
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 17 of 25 PageID #: 1790
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 18 of 25 PageID #: 1791
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 19 of 25 PageID #: 1792
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 20 of 25 PageID #: 1793
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 21 of 25 PageID #: 1794
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 22 of 25 PageID #: 1795
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 23 of 25 PageID #: 1796
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 24 of 25 PageID #: 1797
Case: 4:20-cv-01227-JAR Doc. #: 1-8 Filed: 09/10/20 Page: 25 of 25 PageID #: 1798
